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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA
Baton Rouge, Louisiana 70801-1712

CHAMBERS OF Russell B. Long Federal
BRIAN A. JACKSON Building & Courthouse
UNITED STATES DISTRICT JUDGE 777 Florida Street, Suite 375

(225) 389-3692

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